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 5 Attorney for:
   OSCAR ANDRADE
 6
                                    IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                              CASE NO. 2:17-CR-00149 TLN
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                                      Plaintiff,            STIPULATION REGARDING EXCLUDABLE
11                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                            FINDINGS AND ORDER TO CONTINUE CASE
12                                                          TO 9/20/18 AT 9:30 A.M.
     RIGOBERTO NUNEZ,
13   OSCAR ANDRADE,
     OSCAR RODRIGUEZ,
14                                    Defendants

15
                                                        STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, James Conolly, and
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     Defendants Rigoberto Nunez, represented by Attorney Preciliano Martinez, Defendant Oscar Andrade
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     represented by Attorney Dina Santos; Defendant Oscar Rodriguez, represented by David Fischer, hereby
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     stipulate as follows:
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            1.       By previous order, this matter was set for status on May 31, 2018.
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            2.       By this stipulation, defendants now move to continue the status conference until
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     September 20, 2018, at 9: 30 a.m., and to exclude time between May 31, 2018, and September 20, 2018,
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     under Local Code T4. Plaintiff does not oppose this request. The Defense continues to conduct
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     investigation, review discovery and negotiate with the Government.
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            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)      Counsel for defendants desire additional time to continue to conduct
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            investigation, and to otherwise prepare for trial. Counsel for defendants believe that failure to
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      Stipulation and Order Continuing Status Conf. &        1
      Excluding Time Periods Under Speedy Trial Act
                 Case 2:17-cr-00149-TLN Document 55 Filed 05/30/18 Page 2 of 3


 1          grant the above-requested continuance would deny them the reasonable time necessary for

 2          effective preparation, taking into account the exercise of due diligence. The government does

 3          not object to the continuance.

 4                   b)      Based on the above-stated findings, the ends of justice served by continuing the

 5          case as requested outweigh the interest of the public and the defendant in a trial within the

 6          original date prescribed by the Speedy Trial Act.

 7                   c)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8          et seq., within which trial must commence, the time period of May 31, 2018, to September 20,

 9          2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

10          T4] because it results from a continuance granted by the Court at defendants request on the basis

11          of the Court’s finding that the ends of justice served by taking such action outweigh the best

12          interest of the public and the defendants in a speedy trial.

13          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

14 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

15 must commence.

16          IT IS SO STIPULATED.

17 Dated: May 29, 2018                                         MCGREGOR SCOTT
                                                               United States Attorney
18

19                                                             /s/ James Conolly
                                                               JAMES CONOLLY
20                                                             Assistant United States Attorney

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22 Dated: May 29, 2018                                     /s/ Preciliano Martinez
                                                           PRECILIANO MARTINEZ, ESQ.
23                                                         Attorney for Rigoberto Nunez
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     Dated: May 29, 2018                                   /s/ Dina L. Santos
25                                                         DINA L. SANTOS, ESQ.
                                                           Attorney for Oscar Andrade
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      Stipulation and Order Continuing Status Conf. &      2
      Excluding Time Periods Under Speedy Trial Act
              Case 2:17-cr-00149-TLN Document 55 Filed 05/30/18 Page 3 of 3


 1 Dated: May 29, 2018                                   /s/ David Fischer
                                                         DAVID FISCHER, ESQ.
 2                                                       Attorney for Oscar Rodriguez
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 5                                                     ORDER

 6         IT IS SO FOUND AND ORDERED this 30th day of May, 2018.

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10                                                                Troy L. Nunley
                                                                  United States District Judge
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     Stipulation and Order Continuing Status Conf. &     3
     Excluding Time Periods Under Speedy Trial Act
